Case 1:14-CV-Ol749-C|\/|H-I\/|SN Document 473 Filed 07/10/18 Page 1 of 1 Page|D# 7267

IN THE UNITED STATES DISTRICT COURT
EASTERN DlSTRICT OF VIRGINIA
(Alexandria Division)

 

 

 

VERISIGN, INC.,
Plaintiff, Case No. l:l4-cv-01749-CMH-
MSN
v.
XYZ.COM, LLC, et al.
Defendants.
PROPOSED ORDER

This matter comes before the Court on a consent motion filed by P|aintift` VeriSign lnc.
(“Verisign”), to modify the Protective Order (Dkt. 57) to add “Timothy Jezek” to Paragraph 6(1)).
Accordingly, it is hereby ORDERED that the motion is GRANTED. The Protective Order is

modified to add “Timothy Jezek” to Paragraph 6(b).

lsl
Michael S. Nachmanoff ~ §
United States Magistrate Judge J////?

 

